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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,                            )
       Plaintiffs                              )
  v.                                           )       Civil Action No. 3:22-cv-00049
  JOSHUA MAST, et al.,                         )
       Defendants.                             )

                                   NOTICE OF APPEARANCE

         NOW COMES Caleb Mast, by counsel, and gives notice to this Honorable Court and

  counsel of record in this action that he has retained Melvin E. Williams and the law firm of

  Williams & Strickler, PLC to represent him in this action to move to quash as to him a subpoena

  served on Liberty University.

                                                       Respectfully submitted,
                                                       CALEB MAST

                                                       /s/ Melvin E. Williams
                                                       Of Counsel

  Melvin E. Williams (VSB No. 43305)
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  Roanoke, Virginia 24016
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         Counsel for Caleb Mast

                                  CERTIFICATE OF SERVICE

         On this 28th day of March 2023, the foregoing Notice of Appearance was filed with the

  Clerk of Court using the CM/ECF system, which will send a notification of such filing to counsel

  of record.

                                                       /s/ Melvin E. Williams
                                                       Of Counsel
